Case 1:17-cr-00548-JMF Document 1067-1 Filed 06/29/23 Page 1of1

Supported File Formats

 

ISO Disk Image

Java Archive

L#H

Microsoft Cabinet

Microsoft Office Binder

RedHat Package Manager

Rooshial Archive ......ccssssccecesnsees 15,2.0,2.9,5
Roshal Archive (Multipart)

Executable

GNU Zip. eccccesssssencseessnteneecesnenntenceneenesnae 6.1, 1.0
UNIX CPIO

UNIX TAR

Zip (Multipart)

dBASE 3,4
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dBASE IV 4
Microsoft ACCESS w.cccsssseeereaseacernes 97 — 2016

Apple Mail

Encoded mail message (MHT)

Encoded mail message (Multipart Alterna-
tive)

Enceded mail message (Multipart Digest)
Encoded mail message (Multipart Mixed)
Encoded mail message

(Multipart News Group)

Encoded mail message (Multipart Signed)
Enceded mail message (TNEF)

EML mail message

 

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Microsoft Outlook (MSG)... 97 — 2016
Microsoft Outlook Forms Template
Microsoft Outlook (PST) wuss oY — 2016
Microsoft Outlook (OST)... 97 — 2016
Sendmail MBOX

Thunderbird (MBOX) wun. esa |, 15, 2x, 3.2
Log file

Microsoft OneNote.......... 2007, 2010, 2013, 2016
Microsoft Project (text only)
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Open Access II (QAI!)

vCard 21
Uniplex

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Apple iWork Keynote .uscssssescsessssaensssasaes 5.x Transcript
Unicode UTFS
Hancom Office HanShow wc 2010, 2014 Unicode UTEI6 (big e & little e)
LibreOffice Presentation cream 3,45 Unicode UCS2 (big e & little e}
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StarOffice Impress 3 89 12, 13, 14, 2000, 2007, 2004 — 2010,
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AutoCAD Drawing Exchange Format (DXF)
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JPEG Microsoft XPS
Microsoft Windows Bitmap Microsoft VisiO .....cssssccnceesssnesseeetees 40-2013
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Progressive JPEG Windows Enhanced Metafile
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IBM Lotus Symphony Spreadsheet... lx, 3x None
LibreOffice Spreadsheet 0... 3,45 . |
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Microsoft HTML Help WordPerfect for Macintosh
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